Case 2:21-cv-00345-JRG-RSP Document 24-11 Filed 12/03/21 Page 1 of 2 PageID #: 428




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION

   MONUMENT PEAK                      §
   VENTURES, LLC                      §
     Plaintiff,                       §
                                      §
   v.                                 §   CIV. A. NO. 2:21-cv-0345-JRG-RSP
                                      §
                                      §
   XEROX CORPORATION                  §
     Defendant.                       §   JURY TRIAL DEMANDED




                             EXHIBIT 11
                                                                           Case 2:21-cv-00345-JRG-RSP Document 24-11 Filed 12/03/21 Page 2 of 2 PageID #: 429

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Field Service Technician - Tyler, TX

General information                                                                                                                                                                                                    APPLY


City: Greenville, Longview, Rockwall, Sulphur                                           Working time: Full-time                                                                                         Share this job:
Springs, Tyler                                                                          Ref#: 20012877
State/Province: Texas                                                                   Job Level: Individual Contributor
Country: United States                                                                  Job Type: Experienced                                                                                           Similar jobs
Department: Technical Customer Services                                                 Job Field: Technical Customer Services
Date: Thursday, October 21, 2021                                                                                                                                                                        Call Center / Dispatcher
                                                                                        Seniority Level: Associate
                                                                                                                                                                                                        Miami, Florida, United States -

                                                                                                                                                                                                        Contract Conversion for Internal Use …
                                                                                                                                                                                                        Canada -
Description & Requirements                                                                                                                                                                              Customer Care Associate
                                                                                                                                                                                                        Virginia Beach, Virginia, United States -
About Xerox Holdings Corporation:
For more than 100 years, Xerox has continually redefined the workplace experience. Harnessing our leadership position in office                                                                         Customer Care Associate / Dispatcher
and production print technology, we’ve expanded into software and services to sustainably power today’s workforce. From the office
                                                                                                                                                                                                        Sacramento, California, United States -
to industrial environments, our differentiated business solutions and financial services are designed to make every day work better
for clients — no matter where that work is being done. Today, Xerox scientists and engineers are continuing our legacy of                                                                               Customer Care Center Representative…
innovation with disruptive technologies in digital transformation, augmented reality, robotic process automation, additive
                                                                                                                                                                                                        San Diego, California, United States -
manufacturing, Industrial Internet of Things and cleantech. Learn more at xerox.com and explore our commitment to diversity,
inclusion and belonging.                                                                                                                                                                                View all

The Company requires COVID-19 vaccination. Please direct requests for COVID 19 vaccination accommodation
to AskHR@xerox.com. Reasonable accommodations will be provided where required by law.

We're an industry leader that's rapidly growing our Technical Services division and have an immediate need for professional field
service technicians to delight our customers.

It is important that our Copier and Printer Field Service Technicians do these 3 things well:

          ·     Provide outstanding service to our clients. It is imperative that their printers are working correctly, and that our
                customers receive top-notch service at all times.
          ·     Use electro-mechanical skills to repair devices. Xerox provides training by certified instructors, as well as online and in-
                house training. A good foundation of electrical and mechanical knowledge will help you learn copier and printer repair
                quickly.
          ·     Achieve key productivity goals. This includes 5 gross calls per day, an efficiency rating (fixing it right the first time) of
                50% or higher, response time commitments between 2-4 hours, and keeping parts costs to a minimum.

Here's what we're looking for in your background, to make sure this is a mutually great fit:

          ·     Electro-mechanical experience including using a multi-meter to troubleshoot electrical circuits, and the ability to read
                and comprehend electrical schematics to properly troubleshoot systems. This could include past roles as an HVAC
                technician, Electrician, Automotive Mechanic or Repair, Military or Veteran with electro-mechanical experience.
          ·     Superior time management skills and RELIABILITY. Our customers are counting on you. If you're a "10 minutes early
                is on time, and on time is late" person, we want to talk about your career goals! If you're an "always running behind,
                something's always coming up" person, we'll be honest: this role isn't the best fit for you.
          ·     Valid driver's license, appropriate insurance coverage, and a clean driving history. A Motor Vehicle Record (MVR) is
                included in our technician background check.
          ·     Ability to lift 50 pounds, stand and walk for extended periods of time, pull, lift, squat, reach, bend, and stoop to
                equipment, parts, and supplies. Again, this is an extremely active position that requires walking, standing, squatting,
                bending, and driving for over 50% of the workday.
          ·     Brownie points for A+, MCSE, or MCP certifications and familiarity with networking IT skills, including a firm grasp of IP
                networking and common IT protocols (SMB, FTP, SNMP, SMTP).

Do you have what it takes? Here's what success looks like in 30 days:

          ·     You have completed new hire training, and you've built a solid foundation of knowledge of Xerox, our clients, and our
                customer service culture.
          ·     You have established a thorough understanding of your daily workload, including the energy and positive attitude that it
                will take to maintain client satisfaction.
          ·     You have begun to deliver great customer service as you complete calls on copier and printers, with assistance from
                your manager or another team member.
          ·     You have completed at least 50% of the technical training courses on the devices in your portfolio.
          ·     You have maintained a functional part and supplies stock to properly support the equipment within your territory.

And here's what success looks like in 60 days:

          ·     You've completed 100% of the training courses required to fully support the equipment assigned to you.
          ·     You are actively and correctly completing service calls on printers independently.
          ·     You've completed your first stock audit with no variance.

And last but certainly not least, we offer great benefits, including:

          ·     Full medical/dental/vision, wellness credits, and a company contribution to a Health Savings Account.
          ·     Paid time off, plus holidays and personal days.
          ·     The ability to grow! Possible career tracks include Production Technician or Field Service Manager.




Xerox is an Equal Opportunity Employer and considers applicants for all positions without regard to race, color, creed, religion,
ancestry, national origin, age, gender identity or expression, sex, marital status, sexual orientation, physical or mental disability, use
of a guide dog or service animal, military/veteran status, citizenship status, basis of genetic information, or any other group
protected by law. Learn more at www.xerox.com and explore our commitment to diversity and inclusion! People with disabilities who
need a reasonable accommodation to apply or compete for employment with Xerox may request such accommodation(s) by
sending an e-mail to XeroxStaffingAdminCenter@xerox.com. Be sure to include your name, the job you are interested in, and the
accommodation you are seeking.
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use of a guide dog or service animal, military/veteran status, citizenship status, basis of genetic information, or any other group protected by law. People with disabilities who need a reasonable accommodation to apply or compete for employment with
Xerox may request such accommodation(s) by sending an e-mail xeroxstaGngadmincenter@xerox.com. Be sure to include your name, the job you are interested in, and the accommodation you are seeking.
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